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                                            1   Kresta Nora Daly, SBN 199689
                                                Berit Lynn Elam, SBN 307389
                                            2   BARTH DALY LLP
                                                431 "I" Street, Suite 201
                                            3   Sacramento, California 95814
                                                Telephone: (916) 440-8600
                                            4   Facsimile: (916) 440-9610
                                                Email: kdaly@barth-daly.com
                                            5
                                                Attorneys for Defendant
                                            6   VANIK MOVSESYAN

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                                            8                                  IN THE UNITED STATES DISTRICT COURT

                                            9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10
                                                                                                      ) Case No. 2:15-CR-00236-GEB
                                           11   UNITED STATES OF AMERICA,                             )
                                                                                                      ) STIPULATION AND [PROPOSED]
                                           12                     Plaintiff,                          ) ORDER
                                                                                                      )
               S ACRAMENTO , C ALIFORNIA




                                           13           v.                                            )
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                                      )
                                           14   VANIK MOVSESYAN,                                      )
                                                                                                      )
                                           15                     Defendant.                          )

                                           16

                                           17           Plaintiff United States of America, by and through its counsel of record, Assistant United
                                           18   States Attorney Jeremy J. Kelley, and defendants Nellie Kesoyan and Vanik Movsesyan, by and
                                           19   through their counsel of record, Alan Donato and Kresta Daly, respectively, hereby stipulate as
                                           20   follows:
                                           21           1. The parties previously stipulated to a filing schedule for Rule 12 motions.
                                           22           2. The parties now wish to amend the filing dates and proposed hearing date.
                                           23           3. The parties request the following deadlines for filing motions:
                                           24                    Defense files its briefs: March 24, 2017
                                           25                    Government response: April 7, 2017
                                           26                    Defense reply: April 14, 2017.
                                           27           4. The parties request a hearing on the motions on April 28, 2017.
                                           28

                                                {00021025}
                                                STIPULATION AND [PROPOSED] ORDER                  1                          [Case No. 2:15-CR-00236-GEB]
                                                   Case 2:15-cr-00236-JAM Document 81 Filed 02/06/17 Page 2 of 2


                                            1           5. The parties further request the Court vacate the March 10, 2017 hearing date.

                                            2   Dated: January 30, 2017.                 By:      /s/ Jeremy J. Kelley
                                                                                           JEREMY J. KELLEY
                                            3                                              Assistant United States Attorney
                                            4   Dated: January 30, 2017.                 By:      /s/ Alan J. Donato
                                                                                           ALAN J. DONATO
                                            5                                              Attorney for NELLI KESOYAN
                                            6   Dated: January 30, 2017.                     BARTH DALY LLP
                                            7                                            By:      /s/ Kresta Nora Daly
                                                                                           KRESTA NORA DALY
                                            8                                              Attorney for VANIK MOVSESYAN
                                            9

                                           10                                               ORDER

                                           11           It is so ordered.

                                           12           Dated: February 6, 2017
               S ACRAMENTO , C ALIFORNIA




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B ARTH D ALY LLP
                   A TTORNEYS A T L AW




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                                                {00021025}
                                                STIPULATION AND [PROPOSED] ORDER               2                            [Case No. 2:15-CR-00236-GEB]
